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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 IN RE CATTLE ANTITRUST
                                               Case No. 19-cv-01222 (JRT/HB)
 LITIGATION
                                               JOINT STIPULATION OF
                                               DISMISSAL OF ALL CLAIMS
 This documents relates to:                    AGAINST MARFRIG GLOBAL
                                               FOODS, S.A.
 ALL CASES
                                               FEDERAL RULE OF CIVIL
                                               PROCEDURE 41(a)(1)(A)(ii)


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties, by and

through their undersigned counsel, hereby stipulate to the dismissal of all claims and causes

of action against Marfrig Global Foods, S.A. Plaintiffs and Marfrig will each bear their

own fees, costs, and expenses. Plaintiffs reserve all claims and rights against the remaining

named Defendants, John Doe Defendants, and any third parties.

DATED: October 17, 2019                   Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of October, 2019, I electronically filed the

foregoing Joint Stipulation of Dismissal with the Clerk of Court using the CM/ECF

system which will send notification of such filing to all counsel of record.


                                           /s Peter A. Barile III
                                           Peter A. Barile III




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